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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 TIMOTHY WATKINS,

                      Plaintiff,
                                                    Case No. 24 C 3555
       v.
                                                    Judge Sunil R. Harjani
 SOUTH SUBURBAN MAJOR CRIMES
 TASK FORCE, VILLAGE OF BURNHAM,
 ET AL.

                      Defendants.

                         MEMORANDUM OPINION AND ORDER

       Plaintiff Timothy Watkins brings this action under Title 42, United States Code, Section

1983 and Illinois state law against 23 police officers, 11 municipalities, and the South Suburban

Major Crimes Task Force (“SSMCTF”), a non-profit entity comprised of law enforcement

agencies and officers from various municipal, county, and state agencies, after Watkins was tried

for the murder of Vincent Means and acquitted after spending seven years in jail. In his amended

complaint, Watkins sets forth the following allegations in numbered paragraphs:

       14. Defendant-Officers took part in the investigation into the shooting of Vincent
       Means as part of the South Suburban Major Crimes Task Force.

       15. During the course of the investigation, Defendant Officers took steps to falsely
       implicate the Plaintiff in the March 2, 2016, shooting.

       16. Defendant-Officers and other investigating officers knowingly, intentionally,
       and falsely implicated Plaintiff as being involved in the shooting, despite the lack
       of physical evidence, eyewitness evidence, and evidence of any kind implicating
       Plaintiff as the shooter.

       17. Specifically, Defendant-Officers and other involved officers, after examining
       the crime scene, watching surveillance videos, interviewing numerous witnesses,
       and examining other physical evidence, purposely misrepresented facts, and
       ignored exculpatory evidence that exonerated Plaintiff and evidence that implicated
       other potential suspects.
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   18. No eyewitnesses identified Plaintiff as the shooter.

   19. A young woman who was the passenger in Vincent Means car described a
   possible suspect to investigators and participated in a photo line-up, yet did not
   identify Plaintiff as the shooter.

   20. Nathan Parks, an individual that was with Plaintiff that evening, was arrested
   and held in a police station in Gary, Indiana based on a hold initiated by the
   Defendant-Officers.

   21. Despite the lack of evidence that Plaintiff had anything to do with this shooting,
   Defendant-Officers questioned Nathan Parks about Plaintiff’s involvement with the
   shooting.

   22. Nathan Parks repeatedly denied Plaintiff was involved in the shooting and
   denied that he saw Plaintiff with a gun.

   23. Defendant-Officers Daley and Nevarez aggressively and coercively questioned
   Nathan Parks while he was in their custody over the period of two days while Parks
   pleaded to be released.

   24. Defendant-Officers detained, questioned, pressured and threatened Parks to say
   something to implicate Plaintiff in the shooting even though they knew there was
   no evidence that Plaintiff was involved in the shooting, and that Parks had no
   genuine information that Plaintiff was the shooter or otherwise involved.

   25. Parks eventually made a false and coerced statement that implicated [Plaintiff]
   in the shooting as the result of the Defendant-Officers’ unlawful and
   unconstitutional interrogation.

   26. Parks remained imprisoned in Gary, Indiana pursuant to the Defendant-
   Officers’ orders for four more days until he was transported, in the Defendant-
   Officers’ custody and at the Defendant-Officers’ insistence, to the Cook County
   courthouse to provide false testimony before the Grand Jury implicating Plaintiff.

   27. After Parks testified falsely before the Grand Jury, the Defendant-Officers were
   waiting for Parks. They transported him to the south side of Chicago in their police
   vehicle where they released him on 95th Street.

   28. Despite the lack of evidence that Plaintiff had anything to do with this shooting,
   Defendant-Officers wrote false and misleading reports and gave false and
   misleading information to the State’s Attorney’s Office about the strength of
   evidence against Plaintiff in order to initiate criminal charges against him for
   murder.




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       29. Defendant-Officers did so knowing there was no probable cause to bring
       charges against the Plaintiff.

       30. One or more of the Defendant-Officers then provided false and misleading
       testimony before the Grand Jury implicating Plaintiff in order to obtain a felony
       indictment against the Plaintiff.

       31. On April 11, 2016, based on the Defendant-Officers’ false reports, false
       statements to the state’s attorney, and false testimony, and the coerced testimony
       from Parks, Plaintiff was indicted on eight counts of first-degree murder.

       33. On March 4, 2016, based on the Defendant-Officers’ knowingly false
       allegations and initiation of a warrant for his arrest, Plaintiff was arrested by
       Lansing Police Department and transported to the custody of Defendant Daley at
       the Burnham Police Department.

       36. Defendant-Officers did not have probable cause to bring criminal charges for
       murder against Plaintiff related to shooting of Vincent Means, yet they took steps
       to commence and continue his prosecution anyway.

       41. Defendant-Officers each personally participated in the unlawful conduct and
       acted jointly and in concert with their fellow members of the South Suburban Major
       Crimes Task Force, and/or acquiesced to or failed to intervene to stop the unlawful
       conduct of the Defendant Officers who wrongfully alleged, charged and
       commenced the prosecution of Plaintiff for murder.

Doc. 80, Am. Cmplt. ¶¶ 14-31, 33, 36, 41.

       Based on these facts, Watkins asserts the following claims: (1) Fourth Amendment claim

for unlawful detention and wrongful prosecution under Section 1983; (2) malicious prosecution

under Illinois law; (3) indemnification against the municipal employers and the SSMCTF under

the Illinois Tort Immunity Act, 745 ILCS 10/9-102; and (4) respondeat superior against the

municipal employers and the SSMCTF for the malicious prosecution claim under Illinois law.

Certain Defendants have moved to dismiss the amended complaint for failure to state a claim under

Federal Rule of Civil Procedure 12(b)(6). 1


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  The defendants who have moved to dismiss are: Village of Burnham, John Daley, Nick Nomikos,
Timothy Bolin, Steven Bowen, and Peter Belos (“Burnham Defendants”); Village of Dolton, Major
Coleman and Darryl Hope (“Dolton Defendants”); Village of South Holland and Charles Leyden (“South
Holland Defendants); Village of Calumet Park and Keith Willoughby (“Calumet Park Defendants”);

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                                           DISCUSSION

       A. Group Pleading Against the Defendant Officers

       All of the moving Defendant Officers argue that Counts I and II should be dismissed

because Watkins improperly relies on “group pleading” which fails to give fair notice of the

alleged wrongful conduct in which each moving Defendant Officer allegedly personally engaged.

Watkins responds that that he has alleged that all of the defendant officers were part of the

“SSMCTF investigation wherein they either actively orchestrated or knowingly permitted

[Watkins] to be wrongfully charged and prosecuted for murder when there was no legally adequate

basis to be believe he had committed the crime” and that is sufficient for notice-pleading purposes.

Doc. 138 at 10.

       “Section 1983 creates a cause of action based upon personal liability and predicated upon

fault. An individual cannot be held liable in a § 1983 action unless he caused or participated in an

alleged constitutional deprivation.” Wolf-Lillie v. Sonquist, 699 F.2d 864, 869 (7th Cir. 1983);

Ashcroft v. Iqbal, 556 U.S 662, 676 (2009) (“[A] plaintiff must plead that each Government-

official defendant, through the official's own individual actions, has violated the Constitution.”).

Moreover, a plaintiff who sues multiple defendants must give fair notice to each defendant of the

claims that each defendant must defend against. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007) (Rule 8(a) requires “a short and plain statement of the claim showing that the pleader is

entitled to relief,” in order to “give the defendant fair notice of what the . . . claim is and the

grounds upon which it rests.”) (internal quotes and citation omitted). “There is no ‘group pleading’

doctrine, per se, that either permits or forbids allegations against defendants collectively; ‘group



Village of Blue Island and Anthony Delgadillo (“Blue Island Defendants”); City of Markham and Dominica
Tolbert (formerly Sims) (“Markham Defendants”); Village of Posen and William Alexander (“Posen
Defendants”); Village of Riverdale and Antonio Padron (“Riverdale Defendants”); and Village of Lansing.

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pleading’ does not violate Fed. R. Civ. P. 8 so long as the complaint provides sufficient detail to

put the defendants on notice of the claims.” Robles v. City of Chi., 354 F. Supp. 3d 873, 875 (N.D.

Ill. 2019) (quoting Lattimore v. Vill. of Streamwood, 2018 WL 2183991, at *4 (N.D. Ill. May 11,

2018)). “The key to satisfying Rule 8 is that [a plaintiff] ‘put the defendants on notice of what

exactly they might have done to violate [his] rights.’” Gray v. City of Chi., 2019 WL 3554239, at

*5 (N.D. Ill. Aug. 1, 2019) (Lee, J.) (quoting Kuri v. City of Chi., 2014 WL 114283, at *7 (N.D.

Ill. Jan. 10, 2014)).

        “As many courts have recognized, a plaintiff may be forced to employ limited group

pleading in § 1983 suits alleging police officer misconduct where the plaintiff cannot ‘specify

which individual committed which parts of the alleged misconduct before the benefit of

discovery.’” Jordan v. City of Chi., 2021 WL 1962385, at *2 (May 17, 2021) (quoting Kuri, 2014

WL 114283, at *7). “The fair notice standard ‘is not so rigid that it requires a plaintiff, without

the benefit of discovery, to connect every single alleged instance of misconduct in the complaint

to every single specific officer.’” Id. (quoting Koh v. Graf, 2013 WL 5348326, at *4 (N.D. Ill.

Sept. 24, 2013)). Thus, in some cases, “an allegation directed at multiple defendants can be

adequate to plead personal involvement.” Rivera v. Lake Cnty., 974 F. Supp. 2d 1179, 1194 (N.D.

Ill. 2013). For example, motions to dismiss based on the group pleading argument have been

rejected “in cases involving complaints against only a few defendants where the alleged facts

plausibly suggest a basis for holding each of the defendants personally liable.” Karney v. City of

Naperville, 2016 WL 6082354, at *7 (N.D. Ill. Oct. 18, 2016) (denying motion to dismiss based

on group pleading where the “case only involve[d] two police officer defendants, both of whom




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appear[ed] from the allegations to have been present and involved in the conduct of which Plaintiff

complain[ed].”). 2

        On the other hand, other decisions from this district have dismissed complaints that rely on

group pleading because defendants were not on notice of which actions they were alleged to have

committed. See Lattimore, 2018 WL 2183991, at *4 (plaintiffs repeatedly alleged that

“Responding Officers” or “Defendant Officers” took certain actions and identified specific acts by

one defendant officer, but “fail[ed] to identify what the other [12] Defendant Officers did or did

not do in relation to their constitutional claims.”); Earl v. Howard, 2017 WL 2779797, *3 (N.D.

Ill. June 27, 2017) (“Plaintiff’s allegations fail to adequately put each individual Defendant on

notice of Plaintiff’s constitutional claims because it is implausible that approximately 85

Defendants are liable for the same conduct based on the current allegations.”); Liera v. City of

Chi., 2014 WL 3921359, at *3 (N.D. Ill. Aug. 5, 2014) (plaintiffs alleged specific conduct by three

defendant officers but brought the complaint “against an additional thirty-five police officers

without alleging which officers were at which location or which officers participated in the alleged

wrongful conduct”); Martinez v. City of Chicago, No. 09 C 5938 (N.D. Ill. Sept. 8, 2010)

(dismissing plaintiffs' claims against 24 of the 30 defendant police officers because the complaint

failed to “provide any facts whatsoever regarding these officers’ involvement, and instead only



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  Many of the cases Watkins cites in support of his group pleading argument involved a small number of
officers. See, e.g., Colbert v. City of Chi., 851 F.3d 649, 657 (7th Cir. 2017) (affirming summary judgment
for defendants and noting in dicta that allegations against four officers from the same department for
committing the distinct act of damaging property might have been sufficient to defeat a motion to dismiss
earlier in the case); Olson v. Champaign Cnty., 784 F.3d 1093, 1098, 1100-03 (7th Cir. 2015) (two officers
from same department gave false info and one prosecutor verified same); Abdullahi v. City of Madison, 423
F.3d 763, 774 (7th Cir. 2005) (question of fact remained as to failure to intervene claim where three officers
in same department “were mere feet away” from unlawful acts by other officer but failed to intervene);
Jones v. City of Chi., 2024 WL 4753687, at *2 (N.D. Ill. Nov. 12, 2024) (four officers in same department);
Jordan, 2021 WL 1962385, *2 (four officers in same department fabricated story in reports and testimony);
Hill v. Cook Cnty., 463 F. Supp. 3d 820, 829, 836 (N.D. Ill. 2020) (five officers of a single investigation
team within same department).

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alleged “conclusory legal statements and/or abstract recitations of the elements of given claims”);

Carter v. Dolan, 2009 WL 1809917, at *3-4 (N.D. Ill. June 25, 2009) (where plaintiff alleged that

only three of the defendants actually entered her apartment, complaint failed to provide adequate

notice to the other six defendants of their allegedly unconstitutional conduct).

       Watkins’ amended complaint is similar to complaints that have not survived a motion to

dismiss. Here, the sole allegation Watkins offers of specific officers’ misconduct relates only to

Defendant Officers Daley and Nevarez, and states “Defendant-Officers Daley and Nevarez

aggressively and coercively questioned Nathan Parks while he was in their custody over the period

of two days while Parks pleaded to be released.” Doc. 80, ¶ 23. The remainder of Watkins’

allegations concerning his arrest, detention, and prosecution are directed at the 23 “Defendant-

Officers” as a group. The amended complaint is completely void of particularized wrongdoing

allegations against the other 21 Defendant Officers. For example, rather than name specific

officers in paragraph 30 of the amended complaint, Watkins alleges, “One or more of the

Defendant-Officers then provided false and misleading testimony before the Grand Jury

implicating Plaintiff in order to obtain a felony indictment against the Plaintiff.” Doc. 80, ¶ 30.

The Court cannot plausibly infer that all 23 Defendant Officers from 12 different police

departments could have committed all of the alleged actions. Robles, 354 F. Supp. 3d at 875

(distinguishing 11 officers assigned to a single police unit “organiz[ing] a plan” from cases where

“numerous unaffiliated officers arrive at a scene independently and then engage based on an ad

hoc assignment or on their own initiative.”). Nevertheless, Watkins’ response brief suggests that

he has information allowing him to plead other Defendant Officers’ personal involvement in

greater detail. Watkins admits that he “has some information about the Defendant officers’

involvement based on reports received in the criminal case discovery and in response to FOIA



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requests, [but] the extent of their involvement is not known to Plaintiff and will need to

investigated in discovery.” Doc. 138 at 9. Moreover, Watkins has access to documentation from

his criminal case, including police reports, grand jury testimony, and other material which should

reveal which officers participated in key events such as witness interviews, report writing, and

grand jury testimony.

       Under these circumstances, the Court finds that Watkins fails to adequately put the moving

Defendant Officers (except Defendant Daley) on notice of the claims against them. Accordingly,

the Burnham Defendants’ motion to dismiss is denied with respect to Defendant Daley. The Court

grants Defendants’ motions to dismiss Counts I and II with respect to the other moving Defendant

Officers without prejudice and also grants Watkins’ request for leave to file a second amended

complaint which should include any other information currently available to Watkins concerning

the Defendant Officers’ personal involvement in the events forming the basis of his claims. Earl,

2017 WL 2779797, *3 (“Plaintiff must narrow and group together the individual Defendants’

alleged misconduct in a more particularized way” and “include some details about each

Defendant.”); Koh, 2013 WL 5348326, at *5 (“group pleading is not an ideal practice, especially

where it would seem possible to name a particular defendant, or at least a subset of defendants, as

committing or participating in certain conduct.”); Johnson v. City of Chicago, No. 08 C 2629, at 2

(N.D. Ill. Feb. 2, 2009) (granting motion to dismiss with leave to amend where plaintiff’s

“statement of facts in his response brief show[ed] that he knows of additional facts concerning the

events” of his alleged false arrest and malicious prosecution). Because the amended complaint

fails to state claims against the moving Defendant Officers (except Daley), it also fails to state the

corresponding indemnification and respondeat superior claims in Counts III and IV against the

moving municipalities. Johnson v. Guevara, 2025 WL 903813, at *39 (N.D. Ill. Mar. 24, 2025)



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(“Respondeat superior and indemnification are derivative liability claims that rise or fall with the

claims against the Individual Defendants.”). Thus, Watkins’ derivative claims in Count III and IV

against the moving municipal Defendants are dismissed without prejudice.

       B. Statute of Limitations on Claims Against Five Municipalities and Officer Tolbert

       Five municipal Defendants (Village of South Holland, Village of Blue Island, Village of

Posen, Village of Riverdale, and the Village of Lansing) argue that the respondeat superior claims

(Count IV) against these municipalities are time-barred. Watkins responds that the claims in his

amended complaint relate back to the timely-filed May 1, 2024 complaint against the

municipalities’ employees and are not time-barred. Watkins alleges that his underlying criminal

case was dismissed in his favor on May 1, 2023. Doc. 80, Am. Cmplt. ¶ 39. Watkins filed his

original complaint on May 1, 2024, one year after he was acquitted. Watkins’ original complaint

named 24 Defendant Officers, including Defendant Officers Leyden (employee of South Holland),

Delgadillo (employee of Blue Island), Alexander (employee of Posen), Padron (employee of

Riverdale), and Rodriguez (employee of Lansing), but he did not name the Village of South

Holland, Village of Blue Island, Village of Posen, Village of Riverdale, or Village of Lansing. On

October 7, 2024, approximately one year and four months after the one-year deadline, Watkins

filed his amended complaint adding the Village of South Holland, Village of Blue Island, Village

of Posen, Village of Riverdale, and Village of Lansing as Defendants.

       Count IV for respondeat superior against the defendant municipal employers for the

defendant officers’ malicious prosecution under state law are governed by a one-year Illinois

statute of limitations. Under Illinois law, “[n]o civil action . . . may be commenced in any court

against a local entity or any of its employees for any injury unless it is commenced within one year

from the date that the injury was received or the cause of action accrued.” 745 ILCS 10/8-101(a).



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Watkins’ claims for malicious prosecution accrued when his criminal case terminated in his favor.

Shelton v. Wright, 2011 WL 856811, at *3 (N.D. Ill. Mar. 9, 2011); Ferguson v. City of Chi., 820

N.E.2d 455, 459 (Ill. S.Ct. 2004). Dismissal of a complaint on statute of limitations grounds “is

appropriate only where the allegations of the complaint itself set forth everything necessary to

satisfy the affirmative defense.” Sidney Hillman Health Ctr. of Rochester v. Abbott Labs., Inc.,

782 F.3d 922, 928 (7th Cir. 2015) (internal quotes and citation omitted).

       Watkins invokes Federal Rule of Civil Procedure 15(c)(1)(C) for relation back to the timely

filing of the original complaint against the municipalities’ employees. “Under Rule 15(c)(1)(C),

an amendment to a pleading that ‘changes the party or the naming of the party against whom a

claim is asserted’ relates back to the date of the original pleading so long as: (1) the amendment

asserts a claim or defense arising out of the same conduct, transaction, or occurrence as the original

complaint; (2) ‘within the period provided by Rule 4(m),’ the party added by amendment ‘received

such notice of the action that it will not be prejudiced in defending on the merits’; and (3) the added

party ‘knew or should have known that the action would have been brought against it, but for a

mistake concerning the proper party's identity.’” Herrera v. Cleveland, 8 F.4th 493, 498 (7th Cir.

2021) (emphasis in original).

       Watkins’ amended complaint contains the same allegations and claims as his original

Complaint. The five municipal defendants do not dispute that Watkins satisfies the requirement

in Rule 15(c)(1)(B) that the amendment asserts a claim that “arose out of the conduct, transaction,

or occurrence set out [] in the original pleading.” Fed. R. Civ. P. 15(c)(1)(B); see Jackson v. Kotter,

541 F.3d 688, 696 (7th Cir. 2008) (holding “same transaction or occurrence” requirement

“obviously” met where plaintiff sought to add claim against the government after suing individuals

officers for negligence).



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       As to the second requirement, Watkins states, and the five municipal defendants do not

dispute, that they were served on July 9, 2024 (Riverdale and Blue Island) and August 2, 2024

(Lansing, Posen, and South Holland) with requests to waive service for their officer defendant

employees. Doc. 138 at 14. Receipt of the requests to waive service was actual notice of the action,

and these dates were within the Rule 4(m) period. See Docs 16, 53. The five municipal defendants

also do not argue that they would be prejudiced in defending against Watkins’ claims now.

       The third and final requirement is that Watkins made a “mistake” as to the proper identity

of the municipal employers. In the original complaint, Watkins named the Village of Burnham,

City of Oak Forest, and Village of Dolton as the employers of Officer Defendants Padron,

Rodriguez, Delgadillo, Alexander, and Leyden because “they were the municipalities that could

be discerned from the available information as the potential employers of the individual

Defendants.” Doc. 138 at 15. Watkins explains that “[u]pon further investigation and attempts to

serve the individuals, [he] discovered that some of the individual Defendants were actually

employed by other (unnamed) municipalities at the time of the events.” Id.

       The five municipal defendants argue that Watkins’ omission of them from the original

complaint was not a “mistake” within the meaning of Rule 15(c)(1)(C). They cite Hall v. Norfolk

S. Ry. Co. 469 F.3d 590, 596 (7th Cir. 2006) for the proposition that “mistake concerning the

identity of the proper party does not apply where plaintiff simply lacks knowledge of the proper

defendant.” But that statement in Hall “is all but impossible to square with [the Supreme Court’s

decision in] Krupski, as the Seventh Circuit itself said in Herrera: ‘it is difficult to reconcile the

result in Hall (not a John Doe case) with Krupski . . . .’” Smith v. Zettergren, 2021 WL 4502175,

at *6 (N.D. Ill. Sept. 30, 2021) (quoting Herrera, 8 F.3d at 498).




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       In Krupski v. Costa Crociere S.p.A., 560 U.S. 538 (2010), the Supreme Court clarified that

a corporate misnomer could be a mistake. The Krupski plaintiff named Costa Cruise as a defendant

instead of its related entity, Costa Crociere. The Supreme Court held that a mistake about which

of two related companies operated the cruise ship on which plaintiff had been injured sufficed

under Rule 15(c)(1)(C). The Court observed that no mistake occurs for purposes of Rule

15(c)(1)(C)(ii) where a plaintiff makes “a deliberate choice to sue one party instead of another

while fully understanding the factual and legal differences between the two parties,” id. at 549, but

knowledge of “a party's existence does not preclude [him] from making a mistake with respect to

that party's identity.” Id. According to the Supreme Court, the proper inquiry is “what the

prospective defendant knew or should have known during the Rule 4(m) period, not what the

plaintiff knew or should have known at the time of filing her original complaint.” Id. at 548

(emphasis original). In Herrera, the Seventh Circuit explained that Krupski did not change the

analysis of John Doe claims. Herrera, 8 F.4th at 498-99. Under the John Doe rule, an unnamed

John Doe defendant does not qualify as a mistake under Rule 15(c). Id. at 497-98. If a plaintiff

knows that he does not know the proper defendant’s name, using a John Doe as a placeholder is a

“conscious choice, not an inadvertent error.” Id. at 499; see also Rodriguez v. McCloughen, 49

F.4th 1120 (7th Cir. 2022) (“using a placeholder cannot be a ‘mistake’ for the purpose of Rule

15(c)(1)(C)(ii) because the plaintiff knows that no one named ‘John Doe’ was involved.”).

       Applying the principles in Krupski, there is no basis for finding that Watkins made “a

deliberate choice to sue one party instead of another while fully understanding the factual and legal

differences between the two parties.” Krupski, 560 U.S. at 549. In fact, Watkins’ original

complaint shows that he clearly intended to sue the municipal employers of Defendant Officers

Leyden, Delgadillo, Alexander, Padron, and Rodriguez. Watkins explicitly alleged that the Village



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of Burnham, City of Oak Forest, and Village of Dolton were “the employers and principals of the

Defendant Officers” and he brought indemnification and respondeat superior claims against the

employers of Defendant Officers. Doc. 1 ¶¶ 9, 49-53. Watkins simply sued the wrong municipal

employers for Defendant Officers Leyden, Delgadillo, Alexander, Padron, and Rodriguez. Given

Watkins’ mistake as to the proper municipal employers of Defendant Officers Leyden, Delgadillo,

Alexander, Padron, and Rodriguez Padron, it is plausible that his naming of the Village of

Burnham, City of Oak Forest, and Village of Dolton rather than the Village of South Holland,

Village of Blue Island, Village of Posen, Village of Riverdale, and the Village of Lansing was the

kind of legal mistake that Rule 15(c) contemplates. See Mortensen v. Arrowood, 711 F. Supp. 3d

935, 939 (N.D. Ill. 2024) (allowing plaintiff to amend his complaint and declining to conclude that

plaintiff could not satisfy the requirements for relation back given plaintiff’s apparent

misunderstanding about which of two municipal offices, if any, was legally responsible for the

alleged misconduct).

       Defendants Blue Island, Posen, Riverdale, and Lansing argue that they did not know of

their potential liability because the original complaint provides no specific allegations against

Defendant Officers Delgadillo, Alexander, Rodriguez, and Padron. The Court is not persuaded.

Even though the original complaint did not describe any particular actions taken by Defendant

Officers Delgadillo, Alexander, Padron, and Rodriguez, these four municipal defendants knew as

soon as they received the original complaint that Watkins meant to sue them for indemnification

and respondeat superior based on the conduct of their employees, rather than Burnham, Dolton,

and Oak Forest. Moreover, unlike Herrera, this is not a John Doe scenario where a plaintiff sues

a John Doe defendant because he does not know who injured him, and the defendant is unaware

of the lawsuit. Here, the five municipal defendants were served with a waiver request for their



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employees and received notice of the action within the time frame provided under Rule 4(m),

including the approved extensions. Accordingly, the Court declines to dismiss Watkins’ claims

against the Village of South Holland, Village of Blue Island, Village of Posen, Village of

Riverdale, and the Village of Lansing on this basis at this time.

       The Village of Blue Island, Village of Posen, Village of Riverdale, and Village of Lansing

next move the Court to dismiss Count III, which is the claim for indemnification under the Illinois

Tort Immunity Act, 745 ILCS 10/9-102.          Under Section 9-102, “[a] local public entity is

empowered and directed to pay any tort judgment or settlement for compensatory damages . . . for

which it or an employee while acting within the scope of his employment is liable.” 745 ILCS

10/9-102. These four municipal defendants argue that Watkins’ indemnification claims are barred

by the one-year statute of limitations of 745 ILCS 10/8-101 that began to run on May 1, 2023, the

day Watkins’ criminal case terminated in his favor. Watkins responds that the indemnification

claims do not accrue unless and until judgment is entered against the individual defendants.

Watkins is correct. “[T]he statute of limitations for ‘indemnity claims under § 8–101 does not

begin to accrue until judgment is entered against the employee.’” Sneed v. Vill. of Lynwood, 2022

WL 5116464, at *3 (N.D. Ill. Oct. 4, 2022) (quoting Esparza v. Dart, 2014 WL 5628050, at *3

(N.D. Ill. Nov. 4, 2014)); see also Wilson v. City of Chi., 120 F.3d 681, 685 (7th Cir. 1997) (a

plaintiff need not “wait until a final judgment” before bringing an indemnity claim under § 9–102);

Loza v. City of Chi., 2009 WL 3125542, at *1 (N.D. Ill. Sept. 25, 2009) (“[t]he logical implication

of the Wilson decision is that the actual fact that gives rise to a claim under § 9–102 is the court

entering judgment against the employee defendant, even though it may be appropriate for a

plaintiff to bring the claim in anticipation of that fact”). Because Watkins’ claims against the

individual defendants are still pending and no judgment has been entered in this action, the statute



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of limitations on any indemnification claims has not started and the indemnification claims are not

time-barred. Consequently, Defendants’ motions to dismiss are denied as to Count III on statute

of limitations grounds.

       The final statute of limitations issue concerns whether Watkins’ malicious prosecution

claim against officer Dominica Tolbert in Count II is timely. Doc. 135 at 5. Watkins’ malicious

prosecution claim in Count II against Officer Tolbert is subject to a one-year statute of limitation

for tort claims brought against an employee of a local entity, 745 ILCS 10/8-101(a). Dorsey v. City

of Chi., 2025 WL 327425, at *12 (N.D. Ill. Jan. 28, 2025); see also Williams v. Lampe, 399 F.3d

867, 870 (7th Cir. 2005) (confirming that this one-year limitations period applies to “state claims

that are joined with a § 1983 claim”). The Markham Defendants argue that officer Dominica

Tolbert was sued on October 7, 2024, more than one year after Watkins was acquitted. The

Markham Defendants are incorrect.        The original complaint named Officer Sims, which is

Tolbert’s maiden name, with her Task Force badge numbers as a defendant. Watkins states that

Sims was the name used by this Officer Defendant when she participated in the SSMCTF homicide

investigation. In Watkins’ motion to amend the complaint, he specifically referred to Defendants

Sims by both her maiden and married name, i.e., “Sims (n/k/a Dominica Tolbert).” Doc. 78 at 1.

       Tolbert’s situation is a case of a misnomer rather than the addition of a new party.

“‘Misnomer’ denotes the case in which the plaintiff has the wrong name of the right party.” Athmer

v. C.E.I. Equip. Co. Inc., 121 F.3d 294, 296 (7th Cir. 1997). “[A] misnomer can be corrected at

any time, provided that the plaintiff serves the defendant with reasonable promptness, even if it is

after the statute of limitations has run (as in a case in which the complaint was filed just before it

ran).” Id; Hill v. Shelander, 924 F.2d 1370, 1376 (7th Cir. 1991) (“Amendment with relation back

is generally permitted in order to correct a misnomer of a defendant where the proper defendant is


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already before the court and the effect is merely to correct the name under which he is sued.”)

(internal quotes and citation omitted); see also Rodriguez, 49 F.4th at 1123 (“[s]uing a particular

person by code name differs from suing ‘John Doe’ or an equivalent placeholder” because “[it]

signifies a real person.”). Tolbert was served with the original timely complaint within the time

allowed by the Court. Docs. 53, 63. Therefore, the Court denies the Markham Defendants’ motion

to dismiss Count II as untimely. 3

        C. Conspiracy Claim

        Only the Burnham Defendants, South Holland Defendants, and Markham Defendants

argue that Watkins fails to assert a Section 1983 civil conspiracy claim. Specifically, they argue

that to the extent that Watkins attempts to state a conspiracy claim, it is not supported by any

allegations that plausibly allege the existence of any agreement to deprive Watkins of his

constitutional rights.

        “To state claim under § 1983 for civil conspiracy, a plaintiff must allege facts from which

the Court may reasonably infer there was ‘(1) an express or implied agreement among defendants

to deprive plaintiff of his or her constitutional rights and (2) actual deprivations of those rights in

the form of overt acts in furtherance of the agreement.’” Wheeler v. Piazza, 364 F. Supp. 3d 870,

880 (N.D. Ill. 2019) (quoting Scherer v. Balkema, 840 F.2d 437, 441 (7th Cir. 1988)). “By their



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  For the same reasons, Watkins’ motion to amend the complaint [156] to correct defendant Michael
Rodriguez’s name is granted. Defendant Rodriguez is currently named as Erasmo Rodriguez in the
amended complaint. Michael Rodriguez, a Lansing police officer at the time of the underlying events, was
named as a defendant by his last name and badge number in the original complaint. Watkins was granted
leave to file an amended complaint to provide the full names of the Defendant Officers and to add certain
municipalities that employed them. On October 7, 2024, Watkins filed his amended complaint with the
name of Erasmo Rodriguez for Defendant Rodriguez. Erasmo is Michael Rodriguez’s middle name.
Watkins inadvertently named Defendant Rodriguez by his middle name rather than his first name in the
amended complaint. Michael Rodriguez received notice of the original complaint and waived service
within the Rule 4(m) period, including extensions. See Docs. 40, 53. Neither the Village of Lansing nor
Rodiguez has moved to dismiss Defendant Rodriguez.


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very nature, conspiracies are carried out in secret, so evidence is usually sparse at the pleading

stage.” Hill, 463 F. Supp. 3d at 840. Thus, to withstand a Rule 12(b)(6) motion, a complaint must

only “indicate the parties, the general purpose, and approximate date of the agreement to form a

conspiracy so that the defendant has notice of the charges against him.” Estate of Sims v. Cnty. of

Bureau, 506 F.3d 509, 517 (7th Cir. 2007). It is not necessary at the motion to dismiss stage for a

plaintiff to “establish what roles the individual defendants played nor does he need to allege facts

dispositively proving a ‘meeting of the minds.’” Haliw v. City of South Elgin, 2020 WL 1304697,

at *3 (N.D. Ill. Mar. 18, 2020). Rather, “[u]nder Twombly, all [a] plaintiff need[s] to allege [is] a

plausible account of conspiracy.” Geinosky v. City of Chi., 675 F.3d 743, 749 (7th Cir. 2012).

        Although Watkins’ assertion of a conspiracy in Count I is largely conclusory, allegations

elsewhere in the amended complaint plausibly support a claim for conspiracy. 4 Doc. 80, Am.

Cmplt. ¶ 44. Watkins has sufficiently pled facts to support his conspiracy claim by alleging the

parties, general purpose, and the approximate date of the conspiracy. First, Watkins identifies the

parties to the conspiracy as the individual Defendant Officers and “other investigating officers”

who worked together as part of the SSMCTF’s investigation into the shooting of Vincent Means.

Doc. 80, ¶¶ 16, 17. The fact that Watkins includes “other investigating officers” in his allegations

does not render his allegations insufficient. Royer v. Elkhart City of, 2022 WL 17600377, at *7

(N.D. Ind. Dec. 13, 2022) (at the motion to dismiss stage, “it is permissible and expected for a

plaintiff to only be able to identify a portion of the co-conspirators instead of providing a complete

list.”). Watkins’ amended complaint also alleges the general purpose of the conspiracy: to “falsely



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  Watkins acknowledges that he did not allege a separate conspiracy claim. Watkins could have alleged a
separate conspiracy count, but he was not required to do so. Savory v. Cannon, 2024 WL 4786167, at *17
(C.D. Ill. Oct. 3, 2024); Gardunio v. Town of Cicero, 674 F. Supp. 2d 976, 983-84 (N.D. Ill. 2009) (“Plaintiff
is not required by the Federal Rules of Civil Procedure to plead [false arrest and conspiracy to falsely arrest]
claims [each] in a separate count.”).

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implicate[] [Watkins] as being involved in the shooting, despite the lack of physical evidence,

eyewitness evidence, and evidence of any kind implicating [Watkins] as the shooter.” Am. Cmplt.

¶ 16. The investigation team allegedly created false reports, coerced testimony from Parks,

provided false information to prosecutors, and falsely testified before the grand jury to implicate

Watkins despite the lack of evidence that he was involved in the murder. Id. at ¶¶ 16-17, 21-25,

28-30, 36. Similar allegations of the general purpose of a conspiracy have been found sufficient

to allege a conspiracy claim. See Royer, 2022 WL 17600377, at *7 (allegation that the general

purpose of the conspiracy was “to frame [plaintiff] of the crime [of murder] and to thereby deprive

him of his constitutional rights” was sufficient); Sanchez v. Vill. of Wheeling, 447 F. Supp. 3d 693,

705 (N.D. Ill. 2020) (allegation that the general purpose of the conspiracy was to “coerce

[plaintiff's] and witness's false statements with the goal of ensuring that he would be charged and

convicted” was sufficient); Hill, 463 F. Supp. 3d at 840 (allegation that the general purpose of the

conspiracy was “to implicate [the plaintiff] in the Frank's Liquor Store robbery” was sufficient).

Finally, the amended complaint identifies the approximate dates of the conspiracy, the immediate

aftermath of the March 2, 2016 shooting and continuing through the indictment of Watkins on

April 11, 2016. Doc. 80 ¶¶ 15, 23, 33. Reviewed as a whole and in the light most favorable to

Watkins, these factual allegations are sufficient to plausibly suggest a meeting of the minds

between the individual Defendant Officers to deprive Watkins of his constitutional rights. As a

result, Watkins’ amended complaint states a Section 1983 claim for conspiracy. The Court denies

the motions to dismiss the conspiracy claim.

       The Burnham Defendants also argue that the Village of Burham police officers “cannot be

found to have engaged in a conspiracy pursuant to the intra-corporate [conspiracy] doctrine.” Doc.

109 at 8. Under the intracorporate conspiracy doctrine, according to the Burnham Defendants, “an



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agreement among two or more employees of a single corporation who simply meet in the regular

course of their jobs is not considered a conspiracy.” Id. at 7-8. “[T]he Seventh Circuit has not

addressed the applicability of the intracorporate conspiracy doctrine to § 1983 claims.” Hayes v.

Bd. of Ed. Of City of Chi., 629 F. Supp. 3d 816, 824 (N.D. Ill. 2022); Ezell v. City of Chi., 2024

WL 278829, at *29 (N.D. Ill. Jan. 24, 2024). Courts in this district are split on whether it applies

to Section 1983 claims. Ochoa v. Lopez, 2021 WL 4439426, at *9 (N.D. Ill. Sept. 28, 2021). “Most

courts in this district have held that [the intracorporate conspiracy doctrine] applies to conspiracy

claims under 42 U.S.C. § 1983.” Strauss v. City of Chi., 346 F. Supp. 3d 1193, 1210 (N.D. Ill.

2018). On the other hand, the Seventh Circuit “has on various occasions affirmed conspiracy

claims involving only police officers from the same department.” Liggins v. City of Chi., 2021 WL

2894167, at *5 (N.D. Ill. July 9, 2021) (citing Geinosky, 675 F.3d at 749); Jones v. City of Chicago,

856 F.2d 985, 992 (7th Cir. 1988); Bell v. City of Milwaukee, 746 F.2d 1205, 1253–61 (7th Cir.

1984)); see also Williams v. City of Chi., 2023 WL 6388891, at *10 n.7 (N.D. Ill. Sept. 29, 2023)

(“courts in this district have expressed doubt about the applicability of the intracorporate

conspiracy doctrine as an impediment to a civil conspiracy clam.”). Thus, “district courts have

overwhelmingly declined to dismiss conspiracy claims against police officers pursuant to the

intracorporate conspiracy doctrine.” Liggins, 2021 WL 2894167, at *5 (citing cases).

       Even assuming that the doctrine applies to Section 1983 claims against police officers, it

is not clear that it would apply to the facts alleged here. Under the intracorporate conspiracy

doctrine, “an agreement between or among agents of the same legal entity, when the agents act in

their official capacities, is not an unlawful conspiracy.” Ziglar v. Abbasi, 582 U.S. 120, 153 (2017).

“The underlying rationale is that employees who work for a single entity cannot be said to conspire

with one another, because (like tangoing) it takes two (or more) to conspire.” Haliw, 2020 WL



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1304697, at *4 (emphasis in original). Here, the Burnham police officers are employees of the

one legal entity, the Burnham police department, who are alleged to have conspired with

employees of 10 different municipal police departments, separate legal entities. The Burham

Defendants cite no caselaw suggesting that the intracorporate conspiracy doctrine supports

dismissing the conspiracy claims in this situation. Fontano v. Godinez, 2012 WL 2459399, at *5

(C.D. Ill. June 27, 2012) (intracorporate conspiracy doctrine did not bar plaintiff's Section 1983

civil conspiracy claim where defendants were not employed by the same entity).

       Furthermore, “[t]he doctrine applies only when the agents of corporation or government

entity act within the scope of their employment in joint pursuit of the entity’s lawful business.”

Gray v. City of Chi., 2022 WL 910601, at *14 (N.D. Ill. Mar. 29, 2022) (internal quotes and citation

omitted) (emphasis in original); Johnson, 2025 WL 903813, at *33. “In police misconduct cases,

the doctrine is inapplicable if the alleged misconduct is not the product of routine police

department decision-making.” Harris v. City of Chi., 2020 WL 7059445, at *5 (N.D. Ill. 2020);

see also Wilson v. Burge, 667 F. Supp. 3d 785, 876 (N.D. Ill. Mar. 31, 2023). Here, it is alleged

that the Officer Defendants acted unlawfully to deprive Watkins of his constitutional rights. The

Burnham Defendants have not explained how this conduct is the product of routine policy

department decision-making because Defendants could not have lawfully planned to violate

constitutional rights. Jordan v. Bonano, 636 F. Supp. 3d 924, 932 (N.D. Ill. Oct. 24, 2022)

(“doctrine does not apply because the alleged illegal conduct—including falsely arresting

[plaintiff]—is ‘not the product of routine police department decision-making.’”); Ochoa, 2021 WL

4439426, at *9 (intracorporate conspiracy doctrine did not apply to the plaintiff’s § 1983

conspiracy claim because the plaintiff “alleged the deprivation of numerous civil rights, and that

cannot be the goal of the City or its police department”). For these reasons, the Court declines to



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dismiss Watkin’s conspiracy claim as to the Burnham Defendants based on the intracorporate

conspiracy doctrine.

       D. Federal Malicious Prosecution Claim

       The Burnham Defendants next argue that Watkins’ Fourth Amendment claim based on

malicious prosecution in Count I is barred because a state law remedy exists. The Markham

Defendants similarly argue that to the extent Count II attempts to state a federal malicious

prosecution claim, Watkins may “bring [§]1983 malicious prosecution suits [only] when the

relevant state’s law does not provide . . . a way to pursue such claims.” Doc. 135 at 6 (quoting Ray

v. City of Chi., 629 F.3d 660, 664 (7th Cir. 2011) (internal quotations omitted)); see also Parish v.

City of Chi., 594 F.3d 551, 552 (7th Cir. 2009). “And Illinois law provides a state remedy for

malicious prosecution.” Parish, 594 F.3d at 552. Watkins responds that he has stated a Fourth

Amendment wrongful prosecution claim.

       In Thompson v. Clark, 596 U.S. 36 (2022), “the Supreme Court recognized the existence

of a Fourth Amendment malicious prosecution claim, overruling contrary Seventh Circuit

precedent.” Franklin v. Askew, 2022 WL 17093358, at *7 (N.D. Ill. Nov. 21, 2022); Del Prete v.

Vill. of Romeoville, Illinois, 2025 WL 446260, at *16 (N.D. Ill. Feb. 10, 2025). “As other courts

in this district have explained, however, Thompson did not overrule Seventh Circuit precedent

holding that a plaintiff subject to a prosecution under Illinois law cannot bring a Fourteenth

Amendment malicious prosecution claim (because Illinois law permits malicious prosecution

claims; see Ray v. City of Chicago, 629 F.3d 660, 664 (7th Cir. 2011)).” Franklin, 2022 WL

17093358, at *7 (citing cases). “The upshot is that [a plaintiff subject to a prosecution in Illinois]

may bring a Fourth Amendment malicious prosecution claim to challenge a seizure without

probable cause but may not bring a Fourteenth Amendment malicious prosecution claim to



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challenge a denial of his liberty without due process.” Id. Given that Watkins grounds his

malicious prosecution claim under the Fourth Amendment, his claim in Count I can proceed. See

Doc. 80, Am. Cmplt. ¶ 44 (alleging that Defendant Officers violated Watkins’ “right to be free

from unreasonable seizure guaranteed him by the Fourth Amendment.”).

       As to Count II, the only claim Watkins raises in Count II is for a “state law claim for

malicious prosecution,” and not a federal claim. Doc. 80 at 8. The Markham Defendants’ motion

to dismiss is therefore denied as to Count II on this basis.

                                          CONCLUSION

       For these reasons, the Dolton Defendants’ motion to dismiss [107] is granted, Calumet

Park Defendants’ motion to dismiss [108] is granted, Burnham Defendants’ motion to dismiss

[109] is granted in part and denied in part, South Holland Defendants’ motion to dismiss [113] is

granted in part and denied in part, Posen Defendants’ motion to dismiss [124] is granted in part

and denied in part, Blue Island Defendants’ motion to dismiss [125] is granted in part and denied

in part, Riverdale Defendants’ motion to dismiss [133] is granted in part and denied in part, Village

of Lansing’s motion to dismiss [134] is granted in part and denied in part, and Markham

Defendants’ motion to dismiss [135] is granted in part and denied in part. Plaintiff’s Second

Motion to Amend the Complaint [156] is granted. These motions are granted without prejudice to

Watkins filing a second amended complaint by May 2, 2025, consistent with this Opinion.



Dated: April 18, 2025                                  __________________________
                                                       Sunil R. Harjani
                                                       United States District Judge




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